      Case 2:99-cr-00401-JAM Document 149 Filed 05/19/06 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                    IN THE UNITED STATES DISTRICT COURT

 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,

12              Plaintiff,              Civ. S–02-686 DFL
                                        Cr. S-99-0401 DFL
13        v.
                                              O R D E R
14   BRANDY VEGA TELLEZ,

15              Defendant.

16                                  /

17        Defendant has filed a notice of appeal of this court’s March

18   12, 2004 denial of his application for a writ of habeas corpus.

19   Before defendant can appeal this decision, a certificate of

20   appealability must issue.      28 U.S.C. § 2253(c); Fed.R.App.P.

21   22(b).

22        A certificate of appealability may issue under 28 U.S.C.

23   § 2253 “only if the applicant has made a substantial showing of

24   the denial of a constitutional right.”        28 U.S.C. § 2253(c)(2).

25   The court must either issue a certificate of appealability

26   indicating which issues satisfy the required showing or must
      Case 2:99-cr-00401-JAM Document 149 Filed 05/19/06 Page 2 of 2


 1   state the reasons why such a certificate should not issue.

 2   Fed.R.App.P. 22(b).

 3        For the reasons set forth in the March 12, 2004 order

 4   denying defendant’s motion under 28 U.S.C. § 2255, defendant has

 5   not made a substantial showing of the denial of a constitutional

 6   right.   Accordingly, a certificate of appealability should not

 7   issue in this action.

 8        IT IS SO ORDERED.

 9   Dated: 5/18/2006

10

11

12                                            DAVID F. LEVI
                                              United States District Judge
13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                          2
